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B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                                SouthernDistrict
                                            __________  District Of
                                                                 of Indiana
                                                                     __________

In re Kevin
      ________________________________,
            Lloyd & Cheryl Lynn Lloyd                                                             Case No. ________________
                                                                                                           19-08591




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.


 U.S. Bank Trust National Association as Trustee
 of the Igloo Series IV Trust
______________________________________                                     NewRez LLC d/b/a Shellpoint Mortgage Servicing
                                                                           ____________________________________
           Name of Transferee                                                          Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):    11-1
should be sent:                                                             Amount of Claim:      $298,777.57
                       SN Servicing Corporation                                                    12/11/2019
                       323 5th Street
                                                                            Date Claim Filed:
                       Eureka, CA 95501

           800-603-0836
Phone: ______________________________                                       Phone: 972-347-4350
Last Four Digits of Acct #: ______________
                                 4950                                       Last Four Digits of Acct. #: __________
                                                                                                            0140

Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________
   /s/ Michelle Ghidotti, Esq.                                              Date:____________________________
                                                                                  04/02/2021
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
